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                            UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON


UNITED STATES OF AMERICA                             3:22-cr-00081-MO

               v.
                                                     PROTECTIVE ORDER
DENNIS “DENNY” DOYLE

              Defendant.


       This matter came before the Court upon the government’s unopposed motion for a

protective order limiting the disclosure and dissemination of the discovery materials in this matter.

Because the charge in this case is the possession of child pornography, images of the alleged minor

victims and the personally identifiable information of third parties, appears throughout the

materials. Rather than delay discovery of those materials while the government redacts the name

and personal identifying information, the parties have agreed to the entry of an appropriate

protective order under 18 U.S.C. § 3509(d)(3).

       Based on the information in the government’s motion, the Court finds that there is a

significant possibility that public disclosure of the name or other information concerning any

minors identified in the materials subject to this order would be detrimental to the minors.

Accordingly, IT IS ORDERED that the materials contained in the government’s pretrial discovery

in this case may only be used and disseminated as follows:




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        1.        Any discovery documents or electronic records the government provides to counsel

for defendant, may be disseminated to any member of the defense team and, at counsel’s discretion,

to any expert counsel retains to assist in the preparation or presentation of the defense. Anyone

who receives a copy of the material must also receive a copy of the protective order and must agree

to be bound by its provisions. No further copying or dissemination of the material is permitted.

        2.        Counsel may discuss and show the contents of discovery to defendant. However,

counsel may not furnish copies of any of the records to defendant without the parties jointly

approving redacted copies that do not include personal identifying information or minor victim

identification.

        3.        No one to whom disclosure is made may divulge or disclose the name or other

personal identifying information of any minor victim to any member of the public, to the media, or

in any publicly filed court document.

        This protective order shall remain in effect until further order of the Court. A violation of

this order may be punished as a contempt of court.

                                                       ~UJtl (Y} ~
         3/18/2022
DATED: ________________________                       ____________________________________
                                                      HONORABLE MICHAEL W. MOSMAN
                                                      Senior United States District Court Judge
Presented by:

SCOTT ERIK ASPHAUG
United States Attorney

/s/ Natalie K. Wight
NATALIE K. WIGHT
Assistant United States Attorney




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